Case 5:19-cv-00615-TJC-PRL Document 74 Filed 02/22/21 Page 1 of 2 PageID 794




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION


   RACHELLE BEAUBRUN, et al.,

         Plaintiffs,

   v.                                              Case No. 5:19-cv-615-TJC-PRL

   UNITED STATES OF AMERICA,

         Defendant.


                                      ORDER

         The Court was advised that this case has settled subject to approval by

   the appropriate designee of the Attorney General of the United States. See

   Minute Entry (Doc. 73). Accordingly, it is

         ORDERED:

         1.    Counsel for Defendant shall file a notice advising the Court when

   the settlements have been approved.

         2.    Pending the filing of Defendant’s notice, this case is STAYED and

   ADMINISTRATIVELY CLOSED. All case management deadlines are

   vacated, and all hearing and trial dates are canceled.
Case 5:19-cv-00615-TJC-PRL Document 74 Filed 02/22/21 Page 2 of 2 PageID 795




         3.    The Court appreciates Judge Howard’s extensive efforts, along with

   that of the parties and counsel, to resolve this case.

         DONE AND ORDERED in Jacksonville, Florida, this 22nd day of

   February, 2021.




   JAX-3 2/17
   c:
   Honorable Marcia Morales Howard
   United States District Judge

   Counsel of Record




                                           2
